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 Counsel for the Debtor and Debtor-in-Possession

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                              )
 In re:                                                       )   Chapter 11
                                                              )
 HIGHLAND CAPITAL MANAGEMENT, L.P., 1                         )   Case No. 19-34054-sgj11
                                                              )
                                  Debtor.                     )   Re: Docket No. 1528
                                                              )

          DEBTOR’S RESPONSE TO MOTION FOR ORDER IMPOSING TEMPORARY
          RESTRICTIONS ON DEBTOR’S ABILITY, AS PORTFOLIO MANAGER, TO
                   INITIATE SALES BY NON-DEBTOR CLO VEHICLES




 1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
 address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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          The above-captioned debtor and debtor-in-possession (the “Debtor”) hereby submits this

 response (the “Response”) to the Motion for Order Imposing Temporary Restrictions on

 Debtor’s Ability, as Portfolio Manager, to Initiate Sales by Non-Debtor CLO Vehicles [Docket

 No. 1528] (the “Motion”). 2 In support of the Response, the Debtor respectfully states as follows:


                                       PRELIMINARY STATEMENT

          1.       Through the Motion, Highland Capital Management Fund Advisors, L.P.

 (“HCMFA”) and NexPoint Advisors, L.P. (“NPA,” and together with HCMFA, the “Advisors”)

 and Highland Income Fund, NexPoint Strategic Opportunities Fund, and NexPoint Capital, Inc.

 (collectively, the “Funds,” 3 and together with the Advisors, the “Movants”) seek entry of an

 order enjoining the Debtor from exercising its authority and duties as Portfolio Manager with

 respect to the CLOs – each of which is a non-debtor – for a period of thirty days. The Advisors

 are controlled by Mr. James Dondero, and the Funds are managed by Mr. Dondero. 4 Mr.

 Dondero’s attempt to hide behind the Funds’ “independent” boards does not change this reality. 5


 2
   All capitalized terms used but not defined herein have the meanings given to them in the Motion.
 3
   HCMFA is the investment advisor for Highland Income Fund. NPA is the investment advisor for NexPoint
 Strategic Opportunities Fund and NexPoint Capital, Inc.
 4
   NexPoint Strategic Opportunities Fund, Form N-2, filed Aug. 27, 2019 (“[NexPoint Advisors, L.P.] is
 controlled by James Dondero by virtue of his control of its general partner, NexPoint Advisors GP, LLC. . .
 [NexPoint Strategic Opportunities Fund’s] portfolio manager is James Dondero. Mr. Dondero has managed the
 portfolio since September 2012. His investment decisions are not subject to the oversight, approval or ratification of
 a committee.”); NexPoint Capital, Inc., Form 497, filed March 14, 2018, (“Our portfolio managers are James
 Dondero, Michael Gregory, and Nate Burns. Their investment decisions are not subject to the oversight, approval or
 ratification of a committee”); Highland Income Fund, Form 497, filed July 29, 2019, (“Mr. Dondero is a founder
 and President of HCMLP and has managed [Highland Income Fund] since June 2018. . . Highland Capital
 Management Fund Advisors, L.P. serves as [Highland Income Fund’s] investment adviser pursuant to the
 Investment Advisory Agreement with [Highland Income Fund]. HCMFA is controlled by James Dondero and Mark
 Okada, by virtue of their respective share ownership, and its general partner, Strand Advisors XVI, Inc., of which
 Mr. Dondero is the sole stockholder.”). True and accurate copies of each of the foregoing are attached hereto as
 Exhibit A-1, A-2, and A-3, respectively.
 5
   In their annual proxy statements filed with the Securities and Exchange Commission (the “SEC”), each Fund
 discloses its directors, their compensation, and their past experience. Each Fund has generally the same slate of
 directors, and each Fund’s “independent” board consists of John Honis, Bryan Ward, Ethan Powell, and Robert
 Froehlich. NexPoint Strategic Opportunities Fund recently added an additional director with respect to its REIT
 operations, Edward Constantino. Each director receives a $150,000 annual stipend for its services across the
 “Highland Complex.” On information and belief, each of the directors with the exception of Mr. Constantino,

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         2.       The Motion, instead of addressing the Movants’ contractual rights with respect to

 the CLOs (which, as shown below, prohibit the relief requested in the Motion) or following the

 proper procedures for a temporary injunction (which also would be unavailing), urges this Court

 to use its powers under 11 U.S.C. §§ 105 and 363 to enjoin the Debtor from fulfilling its

 responsibilities to manage the property of the non-debtor CLOs. Barring that, the Movants ask

 this Court to amend the Debtor’s Operating Protocols to limit the Debtor’s ability to cause the

 CLOs to sell assets. Each of these arguments is without merit. As discussed below:

         •        The agreements governing the CLOs expressly grant the Debtor, as Portfolio
                  Manager, the authority and discretion to cause the CLOs to sell assets, and no
                  investor has any right under those agreements to control or otherwise interfere
                  with the Debtor’s discretion;

         •        The Debtor is authorized under 11 U.S.C. § 363(c) to continue exercising its
                  discretion with respect to the CLOs without interference;

         •        There are no grounds to enjoin the Debtor from exercising that authority or for
                  this Court to interfere with the rights of third parties; and

         •        The Operating Protocols were negotiated with the CLOs expressly to preserve the
                  Debtor’s discretion to manage the CLOs’ assets without interference.

         3.       Ultimately, the Movants state that they filed the Motion to “preserve the status

 quo” while the Movants explore replacing the Debtor “consensually or through the contractual

 process” in the Management Agreements. Motion, ¶ 21. That statement is disingenuous. The



 serves on twenty-three separate boards of funds managed by the Advisors. See Highland Income Fund, Form 497,
 dated July 29, 2019.
 The Funds admit that Mr. Honis is not disinterested. Mr. Honis is the president of Rand Advisors, LLC, which
 manages the Hunter Mountain Investment Trust (“Hunter Mountain”). Hunter Mountain is the Debtor’s largest
 limited partner and is currently in litigation with the Debtor. Although deemed to be disinterested, until December
 2015, Mr. Powell was a long-tenured employee of the Debtor, HCMFA, and various Debtor- and Debtor-affiliate
 managed funds. Mr. Constantino has served as a member of NexPoint Residential Trust, Inc. – an affiliated fund –
 since March 2015 and is a director of NexPoint Residential Trust, Inc. – another affiliated fund. No information is
 currently known about the relationship, if any, between Mr. Ward, Dr. Froehlich, and Mr. Dondero. See Highland
 Income Fund, Form DEF-14A, filed April 22, 2020 (the “HIF Proxy”); NexPoint Strategic Opportunities Fund,
 Form DEF-14A, filed July 10, 2020 (the “NPSO Proxy”); NexPoint, Capital, Inc., Form DEF-14A, filed April 22,
 2020 (the “NC Proxy”). True and accurate copies of each of the foregoing are attached hereto as Exhibit B-1, B-2,
 and B-3, respectively.

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 Debtor offered the Movants the chance to purchase the Management Agreements on December

 5, 2020. The Movants responded to that offer by filing the Motion. The Motion does not want

 to preserve the status quo; it is simply a pretext for Mr. Dondero’s continuing efforts to thwart

 the Debtor’s effort to fulfill its contractual and statutory duties to manage the CLOs without

 interference as the Debtor proceeds towards confirmation of its plan. On December 10, 2020,

 the Court entered the Order Granting Debtor’s Motion for a Temporary Restraining Order

 against James Dondero, Adv. Proc. No. 20-03190-sgj [Docket No. 10] (the “TRO”). The TRO

 was necessitated by Mr. Dondero’s unlawful interference in the Debtor’s management of the

 CLOs and threats made by Mr. Dondero to Mr. James P. Seery, Jr., and the Debtor’s employees.

 This Motion, together with Mr. Dondero’s Motion for Entry of an Order Requiring Notice and

 Hearing for Future Estate Transactions Occurring Outside of the Ordinary Course of Business

 [Docket No. 1439] (the “Dondero Motion”), are desperate attempts by Mr. Dondero to regain

 control over the Debtor after his alternative plan proposal received no traction with the Debtor’s

 creditors.

                                                 BACKGROUND

          4.       Each CLO is a Cayman-domiciled entity that owns a pool of loans. To finance its

 acquisition of loans, each CLO issued notes and preference shares to third party investors. The

 Preference Shares referenced in the Motion receive the CLOs’ available residual cash flow after

 the CLO has made the required payments on the notes. Although called equity, the Preference

 Shares are not common equity and are not owed any statutory or common law duties. 6 Each

 CLO is a passive vehicle that has contracted with a third-party portfolio manager to manage its

 6
   Attached as Exhibit A to the Motion is a chart showing the current capital structure of each of the CLOs and the
 Movants’ alleged ownership in each CLO. As set forth on Exhibit B to the Motion, the Movants are minority
 investors in the Preference Shares in all but three CLOs and are junior to senior noteholders in a third of the CLOs.
 All other investors in the CLOs are, on information and belief, third party investors that are not affiliated or related
 to the Debtor, the Movants, or Mr. Dondero.

                                                            4
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 portfolio of loans. With respect to each CLO, the Debtor is the third-party “Portfolio Manager”

 retained by the CLO pursuant to the terms of various portfolio management or servicer

 agreements between the Debtor and the CLO (collectively, the “Management Agreements”). 7

 The Debtor, as Portfolio Manager, manages those assets, on a discretionary basis, which includes

 selling those assets if the Debtor, as Portfolio Management, determines that such sale is in the

 best interests of the CLOs.

         5.       Each investor in the CLOs agreed that the Portfolio Manager would have sole

 power to direct the CLOs with respect to investment decisions. What rights investors have are

 governed by the terms of the indentures governing the CLOs (collectively, the “Indentures”), 8

 the preference share paying agency agreements, and in certain cases the Management

 Agreements.       However, the investors have no right to direct the Portfolio Manager or to

 otherwise have a say in how the CLOs’ assets are managed or sold. 9 Any effort by an individual

 investor to usurp that control is impermissible and contrary to the CLO agreements and the

 expectations of all investors. Mr. Dondero is, with three potential exceptions, a minority or

 junior investor in the CLOs and the Court should reject his attempt to usurp the Debtor’s right to

 7
   True and accurate copies of the Management Agreements are attached hereto as Exhibit C.
 8
   True and accurate copies of the Indentures are attached hereto as Exhibit D.
 9
   See, e.g., Offering Memorandum, Grayson CLO, Ltd., Grayson CLO Corp, dated October 7, 2005, Risk Factors,
 page 44:
           The Issuer Will Have Limited Control of the Administration and Amendment of the Collateral
           Obligations
           The Servicer will cause the Issuer to exercise or enforce or refrain from exercising or enforcing its
           rights in connection with the Collateral Obligations or any related documents or will refuse
           amendments or waivers of the terms of any Collateral Obligation and related documents in
           accordance with its ordinary business practices as if the Servicer were administering the Collateral
           Obligations for its own account The authority of the Servicer to cause the Issuer to change the
           terms of the Collateral Obligations will generally not be restricted by the Indenture or the
           Servicing Agreement. As result the Issuer will be relying on the Servicers customary standards
           policies and procedures with respect to the servicing of the Collateral Obligations The Holders of
           the Securities and the Issuer will not have any right to compel the Issuer or the Servicer to take or
           refrain from taking any actions other than in accordance with its ordinary business practices.
 A true and correct copy of the Grayson CLO, Ltd., Grayson CLO, Corp. Offering Memorandum is attached as
 Exhibit E.

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 manage the CLOs without interference from Mr. Dondero or his funds.

                                                      REPLY

 I.       The Motion and Requested Relief Are Contrary to the CLO Agreements.

          6.       The relief sought by the Movants is barred under the terms of the agreements

 governing the CLOs. The Indentures define the procedures for buying, managing, and selling

 the CLOs’ assets (referred to in the Indentures as the Collateral or Collateral Obligations or

 Reference Obligations). The Management Agreements set forth the Portfolio Manager’s duties

 and obligations and the requirements for removing the Portfolio Manager if investors are not

 satisfied. 10 It is telling that the Motion is silent about those provisions; indeed, they offer no

 support for the Motion. As explained below, the Movants have no authority to stop the Debtor

 or the CLOs from managing and selling their assets as required under the Indenture and cannot

 unilaterally remove the Debtor as Portfolio Manager. 11

 The Movants Have No Contractual Right to Stop Sales of CLO Assets

          7.       The CLO agreements strictly define when and how the CLOs’ assets are sold and

 the Portfolio Manager’s rights and obligations related thereto. See generally Indenture § 12.1;



 10
    The Debtor’s role is referred to as either the Servicer of Portfolio Manager. References to the “Management
 Agreements” are to the Servicing Agreement or Portfolio Management Agreement entered by the Debtor and each
 CLO, and references to the “Indentures” are to the Indentures entered into by each CLO. All of the Management
 Agreements and Indentures are governed by New York law, and the relevant provisions of those agreements are
 identical in all material respects across the CLOs at issue in the Motion. To the extent that relevant differences
 exist, they are identified. For ease of reference, unless otherwise noted, the citations herein are to the Management
 Agreement and Indenture of the Grayson CLO. Exhibit F hereto includes references to the relevant provisions of
 each Indenture and Management Agreement.
 11
     The Movants lack the requisite standing to enforce the CLO agreements. While they claim to be Preference
 Shareholders, none of the Movants actually holds the Preferred Shares: The Advisors, by their own admission, do
 not actually hold any Preference Shares or any other interest in the CLOs; and although the Funds may have such an
 interest, they are not the registered holders of such shares, i.e. the parties whose name shows up on the CLOs share
 register. Absent authorization from the registered holder, the Movants cannot enforce any rights with respect to the
 CLOs. See, e.g., Cortlandt St. Recovery Corp. v. Hellas Telecommc’ns, S.a.r.l., 996 N.Y.S.2d 476, 489 (Sup. Ct.
 N.Y. Cnty. 2014), aff’d as modified, 142 A.D.3d 833 (1st Dep’t 2016) (holding that under New York law, “it is well
 settled that a beneficial holder of a note lacks standing to sue for payments due upon the note where, as here, the
 indenture reserves the right to sue to the registered holder of the note.”); Springwell Nav. Corp. v. Sanluis
 Corporacion, S.A., 46 A.D.3d 377 (1st Dep’t 2007) (same).

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 Management Agreement § 2. There is no dispute that these provisions make clear that sales take

 place at the Portfolio Manager’s direction and sole discretion, subject to the limitations in the

 Indenture. See Indenture § 12.1 (“[T]he Issuer may, at the direction of the [Portfolio Manager],

 direct the Trustee to sell any Collateral Obligation or Workout Asset”); Management Agreement

 § 2(a)(iv) (“[T]he [Portfolio Manager], subject to and in accordance with the provisions of the

 Indenture may, at any time permitted under the Indenture, and shall, when required by the

 Indenture, direct the Trustee to . . . dispose of a Collateral Obligation”); Motion, ¶ 7 (“[T]he

 Debtor is responsible, among other things, for making decisions to sell the CLOs’ assets.”).

         8.       Unlike other instances where “Noteholders” or “Preferred Shareholders” may

 have direction rights, nothing in the Indentures or the Management Agreements gives Movants

 (or any other investor in the CLOs) the right to block, interfere with, influence, control, or

 otherwise direct the asset sale process. This is dispositive under the maxim of “expressio unium

 est exclusio alterius.” Int’l Fid. Ins. Co. v. Cty. of Rockland, 98 F. Supp. 2d 400, 412-13

 (S.D.N.Y. 2000); accord Rowe v. Great Atl. & Pac. Tea Co., 46 N.Y.2d 62, 72 (N.Y. 1978)

 (“[C]ourts should be extremely reluctant to interpret an agreement as impliedly stating something

 which the parties have neglected to specifically include.”).       The Movants thus have no

 contractual basis to stop sales of the CLOs’ assets in any way whatsoever – temporarily or

 otherwise.

         9.       The Movants try to sidestep these unambiguous provisions by vaguely alluding,

 “upon information and belief,” to asset sales the Movants “do not agree with.” Motion ¶¶ 12,

 15-16. First, whether an investor in a CLO agrees or disagrees with the Portfolio Manager’s

 investment decisions has no bearing under the CLO agreements, and the Movants do not and

 cannot contend otherwise. Second, the Movants’ criticism of the Debtor’s “disposition of other



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 assets” that it holds or controls outside of the CLOs is equally unavailing. Motion ¶¶ 15-16. The

 Management Agreements plainly allow the Portfolio Manager to hold its own assets and use

 different investment strategies for those assets, even if they are similar to the CLOs’ assets. See

 Management Agreement § 4.

           10.      There is likewise no merit to the Movants’ assertion that the Debtor should

 forbear selling assets in order to try “to secure a substantially better price for [an asset] by being

 willing to hold it and transacting [sic] at a later date.” Motion ¶ 15. For ten of the fifteen CLOs

 (including the three CLOs, discussed below, in which the Movants hold a majority of the

 Preference Shares), 12 the Debtor is actually prohibited from trying to time the market. See

 Indenture § 12.1(i) (“Notwithstanding anything herein to the contrary, the Issuer (at the direction

 of the [Portfolio Manager] or otherwise) shall not acquire or dispose of Collateral Obligation . . .

 for the primary purpose of recognizing gains or decreasing losses resulting from market value

 changes.”). As such, the Movants are advocating that the Debtor breach the Indenture not just by

 ceding management discretion to the Movants but by trying to do the very thing the Debtor is

 expressly prohibited from doing, i.e., trying to time the market.

           11.      Ultimately, while the Movants may not like the way the Debtor is managing the

 CLOs, they have no contractual right to do anything about it absent a showing that the Debtor

 has engaged in bad faith, willful misconduct, gross negligence, or a breach of its fiduciary duty

 to the CLO. See Management Agreement § 10(a) (limiting the Portfolio Manager’s liability to

 “acts or omissions constituting bad faith, willful misconduct, gross negligence or breach of

 fiduciary duty in the performance, or reckless disregard, of the obligations of the [Portfolio

 Manager under the Management Agreements] and under the Indenture.”). And even in those



 12
      There is no “Supervening Requirement” in the Gleneagles, Jasper, Liberty, Southfork, [and Valhalla] CLOs.

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 extreme circumstances, which are plainly not present here, the Movants’ remedy would be to

 replace the Portfolio Manager or seek money damages, not impose a prohibition on future sales.

 The Movants Cannot Replace the Portfolio Manager

         12.      If the Preference Shareholders wish to remove the Portfolio Manager, the

 Management Agreements allow them to do so in certain circumstances not present here. Indeed,

 the Movants’ “belief” that “replacing the Debtor as portfolio manager is appropriate,” Motion ¶

 24, does not come close to satisfying the removal requirements under the Management

 Agreements, which set forth the process for replacing the Portfolio Manager for each CLO.

 Specifically, the replacement is made by the CLO, at the direction of at least a majority of

 Preferred Shareholders not affiliated with the existing Portfolio Manager, and is subject to

 certain express conditions, including approval of credit rating agencies. The Movants do not and

 cannot satisfy any of those requirements.

         13.      Among other deficiencies, the Movants do not satisfy the minimum holdings

 requirement to replace the Portfolio Manager. Under the Management Agreements, the Movants

 need a majority (and for some CLOs, a supermajority) of Preference Shares in each CLO to

 direct the CLO to terminate and appoint a new Portfolio Manager. See Management Agreement

 §§ 12(e)(i); 14. 13 The Movants admit they lack the requisite majority for twelve of the fifteen

 CLOs.

         14.      But even with respect to the remaining three CLOs (Grayson, Greenbriar, and

 Stratford), the Movants cannot exercise their votes to remove the Debtor as Portfolio Manager.

 The Management Agreements unambiguously exclude the votes of the Portfolio Manager’s

 “Affiliates.” Id. As set forth in their most recent proxy statements, the Movants (specifically the


 13
   Preferred Shareholders have no right whatsoever to remove the Portfolio Manager of the Loan Funding VII (aka
 Valhalla) CLO. See Valhalla Management Agreement § 14.

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  Funds) consider themselves “affiliates” of the Debtor. 14 This disqualifies the Movants from

  voting their Preference Shares to remove the Portfolio Manager in each CLO, including the three

  in which they hold the majority. While the Indentures’ definition of “Affiliate” may differ from

  how the Movants use the term in their SEC filings, 15 there is no question that the Movants were

  the Debtor’s “Affiliates” before January 9, 2020. Equity does not permit the Movants (and Mr.

  Dondero) to use the bankruptcy to avoid the contracts and declare themselves non-“Affiliates” so

  they can usurp control of the CLOs. See, e.g., Precision Instrument Mfg. Co. v. Auto. Maint.

  Mach. Co., 324 U.S. 806, 814-15 (1945) (“[T]he equitable maxim that ‘he who comes into

  equity must come with clean hands’ . . . closes the doors of a court of equity to one tainted with

  inequitableness or bad faith relative to the matter in which he seeks relief”).

  The Movants’ Rights Are a Matter of Contract

           15.      Finally, in an effort to justify the Motion, the Movants invoke the Investment

  Advisers Act of 1940 (the “Advisers Act”) as setting forth the Debtor’s obligations to the

  investors in the CLOs. 16 Yet, it is axiomatic that those obligations (and CLOs generally) are

  purely creatures of contract and governed by the CLO agreements. See, e.g., Management

  Agreement § 10(a) (“The [Portfolio Manager] assumes no responsibility under this Agreement


  14
     See HIF Proxy; NPSO Proxy; NC Proxy (“Given Mr. Dondero’s historic role with [the Debtor] and his continued
  ownership interest and roles with respect to the Highland platform as a whole, as well as the shared services
  agreements between [the Debtor] and the Adviser,” each Fund will “still treat” the Debtor as the Fund’s affiliates).
  15
     The Indentures define the term “Affiliate” in Section 1.1 and ground it in common corporate or voting control.
  16
     The Movants state – without authority – that the CLOs are only the Debtor’s “nominal” clients and that the
  Debtor’s true clients are “holders of the beneficial interests in the CLOs, such as the fund” and cite to various cases
  interpreting the Advisers Act to justify that position. Motion, ¶¶ 22-23. There is no statutory or common law basis
  for this argument. In fact, the seminal ruling in Goldstein v. SEC directly contradicts the Movant’s position. 451
  F.3d 873, 881-82 (D.C. Cir. 2006) (finding that under Section 206 of the Investment Advisers Act of 1940 and other
  provisions “[t]he adviser owes fiduciary duties only to the fund, not to the fund’s investors. . . If the investors are
  owed fiduciary duty and the entity is also owed a fiduciary duty, then the adviser will inevitably face conflicts of
  interest.”). Goldstein clarified that the investment adviser’s only client is the fund itself and overturned an
  interpretation of Section 206 of the Advisers Act that would have broadened the adviser’s fiduciary duties to include
  the underlying investors in the fund – the Movant’s position. Subsequent to Goldstein, the SEC updated their
  guidance consistent with Goldstein. The Debtor’s duties, as Portfolio Manager, to the underlying investors in the
  CLO, if any, are prescribed by contract.

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  other than to render the services called for hereunder and under the terms of the Transaction

  Documents made applicable to it pursuant to the terms of this Agreement”); id. § 2(b) (“In

  performing its duties hereunder, the [Portfolio Manager] shall seek to preserve the value of the

  Collateral for the benefit of the Holders of the Securities;” however the Portfolio Manager “shall

  not be responsible if such objectives are not achieved so long as [it] performs its duties under this

  Agreement”). 17      The Movants’ rights are therefore limited to those provided in the CLO

  agreements, and the Movants cannot cite to non-existent, extra-contractual duties to justify the

  relief requested.

 II.       11 U.S.C. § 363 Does Not Authorize the Relief Requested

          16.      Although the issues set forth above are fatal to the Movants, their Motion also

  fails because the Debtor’s contractual rights under the Management Agreements and Indentures

  to direct the sale of the CLOs’ assets are an asset of the estate, and the Debtor has the right to use

  those assets – without interference – in the ordinary course of its business. See In re Thomas,

  2020 Bankr. LEXIS 1364 at *31 (Bankr. W.D. Tenn. May 7, 2020); see also In re New Center

  Hospital, 200 B.R. 592 (E.D. Mich. 1996) (finding that a chapter 11 trustee was required to

  fulfill its duties as the administrator of an employee benefit plan governed by ERISA). As

  discussed below and in the Debtor’s objection to the Dondero Motion [Docket No. 1546], the

  manner in which the Debtor may exercise its rights with respect to the CLOs in the ordinary

  course of its business was highly negotiated with the Committee and with the CLOs themselves.

  There is no basis under the Bankruptcy Code or otherwise to now require the Debtor to seek

  leave from this Court (and the Movants) to operate its business in the ordinary course.


  17
     The Movants state that the Management Agreements “generally impose a duty on the Debtor. . . to maximize the
  value of the CLO’s [sic] assets for the benefit of the CLO’s [sic] noteholders and preference shareholders.” Motion,
  ¶ 7. That duty is only found in four out of the fifteen Management Agreements – Gleneagles, Jasper, Liberty, and
  Southfork – and runs to the benefit of all holders of notes and Preference Shares, not just the Movants.

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          17.      Furthermore, each of the CLOs is a Cayman-domiciled entity that owns its own

  assets and those assets are not, in any sense of the word, property of the Debtor’s estate. The fact

  that the Debtor has the authority to direct the disposition of those assets does not turn those

  assets into the Debtor’s property or allow this Court to limit the transfer of such assets under 11

  U.S.C. § 363(b) or otherwise.      See Thomas, 2020 Bankr. LEXIS 1364 at *31 (a debtor’s

  membership interest in an LLC, including both its economic rights and governance rights,

  became property of the estate on the petition date, but the assets of the LLC remain separate and

  the debtor must manage them consistent with the terms of the operating agreement and

  applicable law); In re Cardinal Indus., 105 B.R. 834, 849 (Bankr. S.D. Ohio 1989) (a debtor’s

  ownership interests and control rights in non-debtor partnerships were property of the estate; but

  those rights did not make the assets of the partnership property of the estate or implicate the

  automatic stay so as to prevent secured creditors of the non-debtor partnerships from foreclosing

  on properties of the partnerships). The assets of the CLOs are not subject to 11 U.S.C. § 363,

  and, notwithstanding the bankruptcy, the Debtor is still required to fulfill its obligations as

  Portfolio Manager for the CLOs. Movants cite no authority allowing this Court to interfere with

  the disposition of the CLOs’ assets or the CLOs’ rights under the Management Agreements and

  the other agreements governing the CLOs. The Movants also do not cite to any authority

  allowing this Court under 11 U.S.C. § 363(b) or otherwise to amend the CLO agreements

  without the consent of the parties to those agreements to grant the Movants additional rights

  under those agreements.

          18.      As such, the Debtor is allowed to exercise its discretion with respect to the

  management of the CLOs under 11 U.S.C. § 363. Despite this, the Movants seek to stop the

  Debtor from managing the CLOs citing to the Court’s equitable powers under 11 U.S.C. § 105.



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  As a general matter, Section 105(a) does not allow this type of relief unless the moving party

  follows the procedures and pleading requirements for a preliminary injunction. Feld v. Zale

  Corp. (in re Zale Corp.), 62 F.3d 746, 765 (5th Cir. 1995) (citing In re Eagle-Picher Indus., Inc.,

  963 F.2d 855, 858 (6th Cir. 1992) (“When issuing a preliminary injunction pursuant to its powers

  set forth in section 105(a), a bankruptcy court must consider the traditional factors governing

  preliminary injunctions issued pursuant to Federal Rule of Civil Procedure 65.”).                           Here,

  however, the Movants have not followed the procedural or substantive requirements to obtain a

  preliminary injunction, and the relief requested in the Motion should be denied. 18

          19.      Even assuming that the Movants could challenge the Debtor’s use of its property

  under 11 U.S.C. § 363 – and they cannot not – any such challenge would fail because the

  Debtor’s conduct is fully justified.          The Motion references three sales as highlighting the

  Debtor’s purported shortsightedness. Each of these examples is misplaced, and the Movants’

  references to these examples only underscore Mr. Dondero’s continued desire to re-assert control

  over the Debtor and to prevent the Debtor from maximizing value for both the Debtor’s creditors

  and the investors in the CLOs. 19


  18
     The requirement to seek an injunction should not be a surprise to the Movants. CLO Holdco, Ltd., made this
  exact argument when the Committee moved to prevent distributions to CLO Holdco, Ltd., from a non-Debtor entity.
  See Motion for Remittance of Funds Held in Registry of Court [Docket No. 590]. CLO Holdco, Ltd., is a direct and
  wholly-owned subsidiary of the Charitable DAF Fund, L.P. The Charitable DAF Fund, L.P., as this Court knows, is
  a donor advised fund founded by Mr. Dondero, which invests in multiple Debtor-managed vehicles, including the
  CLOs. Similarly, Highland CLO Funding Ltd. (“HCLOF”) followed the correct procedures for a temporary
  restraining order by filing an adversary proceeding in In re Acis Capital Management, L.P., et al., Case No. 18-
  30264-sgj (Bankr. N.D. Tex. 2018) by filing an adversary and seeking an injunction requiring the Chapter 11 trustee
  to fulfill its contractual obligations under certain CLO portfolio management agreements. Adv. Proc. No. 18-
  030178-sgj (Bankr. N.D. Tex. 2018). At the time of that filing, HCLOF was an investment vehicle controlled by
  Mr. Dondero. The irony of (i) the Movant seeking to force the Debtor’s not to comply with its obligations to the
  CLOs and (ii) HCLOF filing a motion seeking to force Acis Capital Management, L.P., to comply with its
  obligations should not be lost on this Court.
  19
     The first sales referenced by the Movants are the equity trades that were prevented by Mr. Dondero’s
  inappropriate interference in the Debtor’s business. This action and Mr. Dondero’s threats were the basis for the
  TRO. The second sale is the sale of unsecured debt in OmniMax International, Inc. (“OmniMax”). The Movants
  allege that other entities received a higher price for the OmniMax debt; however, those parties only received a
  higher price because of Mr. Dondero’s interference in that sale. See Written Consent of the General Partner of

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III.       The Operating Protocols Do Not Justify the Relief Requested

          20.      Finally, the Movants cite to the highly negotiated and carefully crafted Operating

  Protocols as precedent for the relief requested in the Motion. That argument ignores the actual

  terms of the Operating Protocols and the history of Section IV(B)(3)(a) thereof. The CLOs

  objected to the Operating Protocols. See Limited Objection to Motion of the Debtor for Approval

  of Settlement with the Official Committee of Unsecured Creditors Regarding Governance of the

  Debtor and Procedures for Operations in the Ordinary Course [Docket No. 324] (the “CLO

  Issuers Objection”). As a result of the CLO Issuers Objection, the Debtor – with the consent of

  the Committee – amended the Operating Protocols to add the carve out in Section IV(B)(3)(a).

  The CLOs requested this carve out because, among other reasons:

          The stakeholders purchased notes offered by the applicable Issuers relying upon
          the terms of the relevant indenture and related public documents. The [Operating
          Protocols] would effectively modify the collateral management agreements in a
          way that is inconsistent with the investors’ expectations and the [D]ebtor’s
          fiduciary duty to each Issuer, because the [Operating Protocols] extends the time
          it may take for an Issuer to complete a transaction recommended by the Debtor in
          its capacity as collateral manager and provides the Committee – a party that did
          not exist at the time of the sale of the notes and that has neither a contractual
          relationship with, nor a fiduciary duty to, the Issuers – a review and objection
          right. The result is that investors may lose value that they bargained for when
          they purchased the applicable notes if, for example, the Collateral Manager
          cannot timely close a sale or purchase.

  CLO Issuers Objection, ¶¶ 3.

          21.      Consequently, the carve out in Section IV(B)(3)(a) was specifically negotiated to

  allow the Debtor to fulfill its obligations to the CLOs without interference. The revision to the

  Operating Protocols requested by the Movants would therefore be in direct conflict with the

  Operating Protocols. The Motion would transfer investment discretion from the Debtor – the

  Highland Capital Management, L.P., Effective September 21, 2020, a true and correct copy of which is attached as
  Exhibit G. Finally, the Movants reference the sale of SSPI Holdings, Inc. (“SSPI”), a subsidiary of SSP Holdings,
  LLC. None of the CLOs held an equity interest in SSPI, its direct parent, SSP Holdings, LLC, or Trussway
  Holdings, LLC. The CLOs held debt instruments, and those instruments were repaid in accordance with their terms.

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  Portfolio Manager – to the Movants (and Mr. Dondero) and impermissibly abrogate the terms of

  the various Management Agreements that all investors – not just the Movants – relied on when

  they invested in the CLOs. See Paradigm Air Carriers v. Tex. Rangers Baseball Partners (In re

  Tex. Rangers Baseball Partners), 521 B.R. 134, 180 (Bankr. N.D. Tex. 2014) (finding that a

  debtor – in the context of 11 U.S.C. § 365 – could not amend the terms of a contract without the

  consent of its contract counterparty).

          22.      Ultimately, the Movants’ (and Mr. Dondero’s) attempts to interfere with the

  operation of the Debtor’s estate and non-debtor CLOs, and to re-insert themselves as the

  decision-making authority are meritless. The Motion should be denied.


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          WHEREFORE, for the reasons set forth above, the Debtor respectfully requests that the

  Court deny the Motion.

  Dated: December 15, 2020.              PACHULSKI STANG ZIEHL & JONES LLP

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